Case 4:11-cr-00248-ALM-CAN            Document 1319         Filed 03/21/16      Page 1 of 3 PageID #:
                                             5102

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 v.                                                §    CRIMINAL NO. 4:11CR248 MAC/DDB
                                                   §
 BRITTANY MICHELLE CLAYTON (28)                    §


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on March 15, 2016 to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by Jay

 Combs.

        On March 8, 2013, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of 30 months imprisonment followed by a 3-year term of

 supervised release for the offense of Conspiracy to Possess with Intent to Distribute Heroin.

 Defendant began his term of supervision on May 18, 2015. This case was transferred to the

 Honorable Marcia A. Crone on October 7, 2015.

        On March 3, 2016, the U.S. Probation Officer filed a Petition for Warrant or Summons for

 Offender under Supervision (the “Petition”) (Dkt. 1305). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall refrain from any unlawful use

 of a controlled substance; (2) Defendant shall refrain from excessive use of alcohol and shall not

 purchase, possess, use, distribute, or administer any controlled substance or any paraphernalia related

 to any controlled substances, except as prescribed by a physician; (3) Defendant shall answer


                                                    1
Case 4:11-cr-00248-ALM-CAN            Document 1319         Filed 03/21/16       Page 2 of 3 PageID #:
                                             5103



 truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

 and (4) Defendant shall participate in a program of testing and treatment for alcohol and drug abuse,

 under the guidance and direction of the U.S. Probation Office, until such time as Defendant is

 released from the program by the probation officer.

         The Petition alleges that Defendant committed the following violations: (1) On September

 10, 2015, Defendant submitted a urine specimen that tested positive for morphine. On December

 2, 2015, January 15, 2016, and January 20, 2016, Defendant submitted urine specimens that tested

 positive for methamphetamine. All of the aforementioned urine specimens were confirmed positive

 by Alere Toxicology Services; (2) On January 15, 2016, Defendant was instructed to report by

 January 19, 2016, to either Nexus or Homeward Bound, both inpatient treatment facilities, for

 inpatient substance abuse treatment. Defendant failed to report to Nexus or Homeward Bound as

 instructed; and (3) On August 15, 2015, Defendant’s conditions of supervised release were modified

 to include an increase in her drug testing and treatment. As such, on September 18, 2015, Defendant

 enrolled in an 8-week supportive outpatient program (SOP), with Addiction Treatment Resources

 (ATR). Defendant was unsuccessfully discharged from ATR for noncompliance with the treatment

 program on February 11, 2016.

         At the hearing, Defendant entered a plea of true to allegations and two. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation

 of this Court. The Court finds that Defendant has violated the terms of his supervised release.

                                       RECOMMENDATION

         Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

 presented at the March 15, 2016 hearing, the Court recommends that Defendant be committed to the


                                                    2
    Case 4:11-cr-00248-ALM-CAN          Document 1319         Filed 03/21/16      Page 3 of 3 PageID #:
                                               5104

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     custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months, with no supervised

     release to follow. The Court further recommends that Defendant’s term of imprisonment be carried

     out in FCI Carswell, if appropriate.

          SIGNED this 21st day of March, 2016.

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                                                  ____________________________________
                                                  DON D. BUSH
                                                  UNITED STATES MAGISTRATE JUDGE




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